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                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     MIDDLE DIVISION
                                    www.flmb.uscourts.gov

  In re                                 )
                                        )
   Xavier Charles Alexander Washington, II
                                        )               Case No.8:24-bk-05243-CPM
                                        )               Chapter 13
               Debtor.                  )
   ____________________________________ )


                                     AMENDED NOTICE OF HEARING

        NOTICE IS GIVEN THAT:
       1.     The Honorable Catherine Peek McEwen will conduct a preliminary hearing in this
case on March 5, 2025, at 1:35 PM. on the following matter:

             Motion to Allow to File Late-Filed Proof of Claim (Doc. No. [39])

        2.      All parties may attend the hearing in person. Parties are directed to review Judge
McEwen’s        Procedures       Governing        Court       Appearances        (available     at
https://www.flmb.uscourts.gov/judges/mcewen) for her policies and procedures for remote
attendance at hearings by video or telephone via Zoom.


       3.       Any party opposing the relief sought at this hearing must appear at the
hearing, or any objections or defenses may be deemed waived.



       4.      This matter upon announcement made in open court and reflected on
the docket without further written notice.



        5.       The Court may continue this matter upon announcement made in open court

and reflected on the docket without further written notice.
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                                   Certificate of Service

       I HEREBY CERTIFY that on February 17, 2025 a true and correct copy of the
foregoing Notice was served via U.S. First Class Mail or electronic transmission to: Debtor’s
Counsel, Law Offices of Robert M. Geller, PA, 807 W. Azeele St., Tampa,
FL 33606; KPetry@RobertGellerLaw.com; robertmgellerbk@robertgellerlaw.com.


                                                            /s/Tiffan y M. Love
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